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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:19-MJ-00050-EFB
12                                 Plaintiff,             STIPULATION FOR EXTENSION OF TIME FOR
                                                          PRELIMINARY HEARING PURSUANT TO RULE
13                           v.                           5.1(D) AND EXCLUSION OF TIME AND
                                                          FINDINGS AND ORDER
14   JONATHAN WARD and
     MONICA NUNES,                                        DATE: May 31, 2019
15                                                        TIME: 2:00 p.m.
                                   Defendants.            COURT: Hon. Deborah Barnes
16

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18          Plaintiff United States of America, by and through its attorney of record, Special Assistant U.S.

19 Attorney ROBERT J. ARTUZ, and Defendant, Monica Nunes, both individually and by and through her

20 counsel of record, Christina Sinha, hereby stipulate as follows:

21          1.       The Complaint in this case was filed on April 4, 2019, and Defendant Monica Nunes first

22 appeared before a judicial officer of the Court in which the charges in this case were pending on April

23 19, 2019. On that date, the Court set a preliminary hearing date of May 3, 2019. The parties then

24 stipulated to have the preliminary hearing continued to May 31, 2019. ECF 8.

25          2.       By this stipulation, the parties jointly move for a second extension of time of the

26 preliminary hearing date to June 28, 2019, at 2:00 p.m., before the duty Magistrate Judge, pursuant to

27 Rule 5.1(d) of the Federal Rules of Criminal Procedure. The parties stipulate that the delay is required

28 to allow the defense reasonable time for preparation, and for the government’s collection and production

      STIPULATION                                          1
                 Case 2:19-mj-00050-EFB Document 13 Filed 05/28/19 Page 2 of 4


 1 of discovery and continuing investigation of the case. For example, the government is continuing to

 2 collect and produce audio/video files, bank records, forensic data, witness statements, subpoena returns,

 3 and police reports relevant to this case. Defense counsel needs additional time to review and consider

 4 this evidence and to conduct additional investigation. The parties further agree that the interests of

 5 justice served by granting this continuance outweigh the best interests of the public and the defendant in

 6 a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

 7          3.       The parties agree that good cause exists for the extension of time, and that the extension

 8 of time would not adversely affect the public interest in the prompt disposition of criminal cases.

 9 Therefore, the parties request that the time between May 31, 2019, and June 28, 2019, be excluded

10 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code T-4.

11          IT IS SO STIPULATED.

12
     Dated: May 24, 2019                                      MCGREGOR W. SCOTT
13                                                            United States Attorney
14
                                                              /s/ ROBERT J. ARTUZ
15                                                            ROBERT J. ARTUZ
                                                              Special Assistant U.S. Attorney
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17
     Dated: May 24, 2019                                      /s/ CHRISTINA SINHA
18                                                            CHRISTINA SINHA
19                                                            Assistant Federal Defender
                                                              Counsel for Defendant
20                                                            Monica Nunes

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      STIPULATION                                         2
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                                 IN THE UNITED STATES DISTRICT COURT
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                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:19-MJ-00050-EFB
12                                 Plaintiff,             [PROPOSED] FINDINGS AND ORDER
                                                          EXTENDING TIME FOR PRELIMINARY
13                          v.                            HEARING PURSUANT TO RULE 5.1(d) AND
                                                          EXCLUDING TIME
14   JONATHAN WARD and
     MONICA NUNES,                                        DATE: May 31, 2019
15                                                        TIME: 2:00 p.m.
                                  Defendants.             COURT: Hon. Deborah Barnes
16

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18          The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing

19 Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on May 24, 2019. The

20 Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,

21 demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule

22 5.1(d) of the Federal Rules of Criminal Procedure.

23          Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests

24 of justice served by granting this continuance outweigh the best interests of the public and the defendant

25 in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would

26 not adversely affect the public interest in the prompt disposition of criminal cases.

27 / / /

28 / / /

      [PROPOSED] FINDINGS AND ORDER                        1
                Case 2:19-mj-00050-EFB Document 13 Filed 05/28/19 Page 4 of 4


 1         THEREFORE, FOR GOOD CAUSE SHOWN:

 2         1.       The date of the preliminary hearing is extended to June 28, 2019, at 2:00 p.m.

 3         2.       The time between May 31, 2019, and June 28, 2019, shall be excluded from calculation

 4 pursuant to 18 U.S.C. § 3161(h)(7)(A).

 5         3.       Defendants shall appear at that date and time before the Magistrate Judge on duty.

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 7         IT IS SO ORDERED.

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 9         Dated: May 24, 2019

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      [PROPOSED] FINDINGS AND ORDER                     2
